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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                        Case No. 8:21−bk−04613−CED
                                                                              Chapter 11
3rd Rock Holdings, Inc.



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On September 3, 2021 the above named Debtor filed a Voluntary Petition under Chapter 11 of the Bankruptcy
Code. The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor
is provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

    Debtors who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court
in person at the Court or by email, facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to
file by email as there may be delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.

Debtors may file papers in Tampa and Ft. Myers cases at the following addresses. If papers are filed by email or fax,
Debtor must also mail the papers to the Courthouse.

flmb−intake−tampa−ft−myers@flmb.uscourts.gov
(Fax) 813−301−5192
U.S. Bankruptcy Court
801 North Florida Avenue
Suite 555
Tampa, FL 33602

           All Schedules A through J and the Summary of Your Assets and Liabilities (forms 106 for
           individuals or 206 for non−individuals) were either not filed, filed incomplete or filed using outdated
           forms as follows: ***(Summary of Schedules, Schedules ABDEFGH Not Filed)***. Pursuant to
           Fed. R. Bankr. P. 1007(b) and (c), the Debtor is directed to file the missing items with proper
           declaration of the Debtor no later than 14 days from the date the petition was filed.

           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           If additional creditors not initially provided with the Petition are added on the Schedules, the Debtor
           is directed to include $32.00 amendment fee and provide proof of service of the Notice of Chapter 11
           Bankruptcy Case to each additional creditor. For Chapter 13 cases, a copy of the filed Chapter 13
           plan must also be served on the additional creditors.


           The Statement of Financial Affairs was not filed. The Debtor is directed to file a signed Statement of
           Financial Affairs using the form B107 for an individual or B207 for non−individuals within 14 days
           from the date the case was filed.

           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
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Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
show cause order.

The Case Management Summary has not been filed or was filed without an original signature or
proper electronic signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4.
Pursuant to Local Rule 2081−1(b), the chapter 11 Debtor is directed to file a signed Case
Management Summary within the earlier of three business days following the petition date or the
date the Debtor−in−Possession filed a motion requesting affirmative relief.

The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below.



                                        FOR THE COURT
 Dated: September 8, 2021               Sheryl L. Loesch , Clerk of Court
                                        Sam M. Gibbons United States Courthouse
                                        801 North Florida Avenue, Suite 555
                                        Tampa, FL 33602


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
